               Case 1:16-cv-00690-CL      Document 114   Filed 06/05/19       Page 1 of 1

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                                                                                       FILED
                          UNJ:TED STATES COURT OF APPEALS!                              JUN 5 2019
                                                                          I.
                                                                                    MOLLY C. DWYER, CLERK
                                  FOR THE NINTH CIRCUIT                              U.S. COURT OF APPEALS




. JOHN ERIC SMITH,                                       No.   19-35011

                    Plaintiff-Appellee,                  D.C. No. 1:16-cv~00690-CL
                                                         District of Oregon,
  V.                                                     Medford

 UNITED STATES OF AMERICA,                               ORDER

                    Defendant-Appellant.


          Appellant's motion to dismiss this appeal (Docket Entry No. 22) is granted.

Fed. R. App. P. 42(b). The parties shall bear their own costs on appeal.

         .A copy of this order shall serve as and for the mandate of this court.

                                                    FOR TilE COURT


                                                     By: Jonathan Westen
                                                     Circuit Mediator ·
JW/Mediation




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                                                                          I.
